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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
    -v-                                   Case No. 1:21-cr-000023 (TJK)

JOSHUA PRUITT,
         Defendant.


                      MOTION TO CONTINUE STATUS HEARING


      Comes now the defendant, JOSHUA PRUITT, by and through counsel and moves this

Honorable Court to continue the status hearing set for January 7, 2022, at 2:00pm. In support of

which counsel states the following:

1. This matter is set for a status hearing on January 7, 2022, at 2:00pm.

2. Prior to the setting of the aforementioned status hearing date undersigned counsel was set to

   travel out of the area via airplane.

3. Due to adverse weather conditions counsel’s scheduled flight has been delayed. The

   scheduled departure time is 1:49pm. This presents a conflict with the currently scheduled

   start time of the status hearing.

4. Upon information and belief, counsel for the government does not object to the granting of

   this request.

5. The parties can be available on January 13, 2022 at 3:00pm.

I ASK FOR THIS

JOSHUA PRUITT
By Counsel


___________/s/________________
Robert L. Jenkins, Jr., Esq.


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                                      Certificate of Service

       I hereby certify that I caused a true and accurate copy of the foregoing to be served on all
counsel of record via ECF on this January 7, 2022.



___________/s/________________
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